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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                       District
                                                 __________     of Oregon
                                                            District of __________

                  United States of America                         )
                             v.                                    )
                                                                   )      Case No.      3:20-mj-170
                                                                   )
                    THOMAS JOHNSON                                 )
                                                                   )
                                                                   )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              %<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      7/26/2020                 in the county of             Multnomah         in the
                       District of            Oregon           , the defendant(s) violated:

            Code Section                                                       Offense Description
18 U.S.C. § 111(a)(1)                           Assaulting a Federal Officer




         This criminal complaint is based on these facts:
See Affidavit of USMS DUSM Christopher Tomayo attached hereto and incorporated by reference.




         ✔ Continued on the attached sheet.
         u

                                                                                                  via telephone
                                                                                              Complainant’s signature

                                                                                      USMS DUSM Christopher Tamayo
                                                                                               Printed name and title

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                8:03
Date:            July 27, 2020
                                                                                                 Judge’s signature

City and state:                         Portland, Oregon                          Hon. Jolie A. Russo, U.S. Magistrate Judge
                                                                                               Printed name and title
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STATE OF OREGON                       )
                                      ) ss: AFFIDAVIT OF CHRISTOPHER TAMAYO
County of Multnomah                   )



             Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Christopher Tamayo, being duly sworn, do hereby depose and state as follows:

                             Introduction and Agent Background

       1.      I am a Criminal Investigator Deputy United States Marshal (CIDUSM) with the

United States Marshals Service and have been since 2013. I am assigned to the Pacific

Northwest Violent Offender Task Force where I am responsible for conducting fugitive and sex

offender investigations that result in arrest and prosecutions of individuals who are facing

criminal charges in state and federal court. As a Criminal Investigator Deputy U.S. Marshal, I

am authorized under 28 U.S.C. § 564 to enforce the federal criminal laws of the United States.

My training and experience includes completion of a California Peace Officer Standard Training

Academy, the Federal Criminal Investigator Training Program and the U.S. Marshals Service

Basic Academy at the Federal Law Enforcement Training Center in Glynco, Georgia. I have

also attended additional training provided by other law enforcement entities relating to fugitive

investigations and sex offender investigations.

       2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

Thomas JOHNSON. As set forth below, I have probable cause to believe that JOHNSON

committed an assault upon a federal officer, in violation of 18 U.S. Code § 111.

       3.      The facts set forth in this affidavit are based on the following: my own personal

knowledge, knowledge obtained from other individuals during my participation in this


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investigation, including other law enforcement officers, interviews of witnesses, my review of

records related to this investigation, communication with others who have knowledge of the

events and circumstances described herein, and information gained through my training and

experience. Because this affidavit is submitted for the limited purpose of establishing probable

cause in support of the application for an arrest warrant, it does not set forth each fact that I or

others have learned during this investigation.

                                          Applicable Law

       4.      18 U.S.C. § 111 makes it an offense to forcibly assault, resist, oppose, impede,

intimidate, or interfere with any person designated in 18 U.S.C. § 1114 while engaged in or on

account of the performance of official duties. Under § 111(a), simple assault is a misdemeanor;

an assault involving physical contact with the victim or an intent to commit another felony is a

felony. Persons designated in § 1114 include any officer or employee of the United States or of

any agency in any branch of the United States government while such officer or employee is

engaged in or on account of the performance of official duties, and any person assisting such an

officer or employee in the performance of official duties.

                                   Statement of Probable Cause

       5.      Since on or about May 26, 2020, protesters have gathered in Portland public

areas, including Lownsdale Square, Chapman Square, and Terry Schrunk Plaza. The Justice

Center, which contains Portland Police Bureau’s (PPB) Central Precinct and the Multnomah

County Detention Center (MCDC), and the Mark O.Hatfield United States Federal Courthouse,




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are directly across the street from those parks. The United States of America owns the entire city

block (Block #24) occupied by the Hatfield Courthouse, as depicted below. 1




         6.     Daily protests have regularly been followed by nightly criminal activity in the

form of vandalism, destruction of property, looting, arson, and assault. The Hatfield Courthouse

has experienced significant damage to the façade and building fixtures during the six weeks

following this incident. Additionally, mounted building security cameras and access control

devices have been vandalized or stolen. The most recent repair estimate for the damage at the

Hatfield Courthouse exceeds $50,000, and there has been additional extensive damage since

then. Other federal properties in the area routinely being vandalized include the historic Pioneer



1
  As part of my duties, I am familiar with the property boundaries for federal facilities in the
Portland area. The federal government owns the entire city block occupied by the Mark O.
Federal Courthouse. Easements have been granted for the sidewalks surrounding the facility. The
property boundary extends past the sidewalks and into the streets surrounding the courthouse.

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Federal Courthouse, the Gus Solomon Courthouse, and the Edith Green Wendall Wyatt Federal

Office Building. FPS law enforcement officers, Deputy U.S. Marshals, and other federal law

enforcement officers working to protect the Hatfield Courthouse have been subjected to threats,

aerial fireworks (including mortars), high intensity lasers targeting officers’ eyes, thrown rocks,

bottles, and balloons filled with paint, and vulgar language from demonstrators while preforming

their duties.

        7.        Specifically, on July 26, 2020, federal law enforcement officers attempted to

disperse a crowd in front of the U.S. Hatfield Courthouse in Portland, OR. The crowd was part

of a protest that was declared an unlawful assembly by the Federal Protective Service and a riot

by the Portland Police Bureau. This occurred after violent opportunists destroyed the security

fence in front of the Mark Hatfield Federal Courthouse, and attacked law enforcement officers

by throwing hard objects, throwing explosive devices, and physically attacking them. During the

dispersal Deputy United States Marshal (DUSM) Victim 1 was dressed in a clearly marked

police tactical uniform and was wearing protective equipment to include a gas mask, helmet, and

body armor.

        8.        At approximately 0130 hours DUSM Victim 1 was walking with a group of

officers attempting to clear the park across the street from the Hatfield Courthouse. A male, who

later identified himself as Thomas JOHNSON, was ordered to leave the park by DUSM Victim

1. As DUSM Victim 1 approached JOHNSON used a homemade shield to strike the officer in

the face. A second DUSM observed the assault and both officers restrained JOHNSON by

placing him on the ground while telling him he was under arrest. JOHNSON was placed under

arrest and taken to the U.S. Marshals Cellblock.


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       9.      On July 26, 2020, I contacted JOHNSON in the United States Marshals Service

detention center at the Hatfield Courthouse. I identified myself as a Deputy with the U.S.

Marshals Service wearing my agency issued badge displayed on my duty belt, before I could

read JOHNSON his rights he informed me he would not want to speak with me. Therefore my

communication with JOHNSON ended.

       10.     On July 26, 2020, JOHNSON’s belongings were searched incident to arrest and

the following were found: asp extendable baton, OC spray, steel plated body armor, helmet,

individual first aid kit, shin guards, gas mask, goggles, phone, and miscellaneous clothing.




                                  Figures 1-3. Johnson’s possessions




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                                           Conclusion

       11.     Based on the foregoing, I have probable cause to believe, and I do believe, that

Thomas JOHNSON assaulted a federal employee or officer, in violation of Title 18 U.S.C § 111.

I therefore request that the Court issue a criminal complaint and arrest warrant charging

JOHNSON with that offense.

       12.     Prior to being submitted to the Court, this affidavit, the accompanying complaint,

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Natalie

Wight. AUSA Wight advised me that in her opinion, the affidavit and complaint are legally and

factually sufficient to establish probable cause to support the issuance of the requested criminal

complaint and arrest warrant.


                                                     (By telephone)
                                                     Chris Tamayo
                                                     Deputy U.S. Marshal
                                                     United States Marshals Service

       Sworn to by telephone or other reliable means at in accordance with Fed. R. Crim. P. 4.1

at _______                 27
     8:03 am/pm on July ________, 2020.



                                                     ________________________________
                                                     HONORABLE JOLIE A. RUSSO
                                                     United States Magistrate Judge




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